Case 3:16-bk-30227          Doc 1046 Filed 06/14/18 Entered 06/14/18 16:37:15              Desc
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                        UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 In re:

 DENNIS RAY JOHNSON, II, et al
      Debtor.                                        Bankruptcy Case No.: 3:16-bk-30227
                                                     Chapter 11

                                                     Jointly Administered


   NOTICE OF WITHDAWAL OF TRUSTEE’S MOTION FOR AUTHORITY TO
  COMPROMISE AND DISMISS PENDING CIVIL ACTION AGAINST PEOPLES
 BANK, PEOPLES INSURANCE AGENCY, LLC, GREAT AMERICAN INSURANCE
     COMPNAY OF NEW YORK, AND ZACHARY B. BURKONS [Doc # 1040]

          Thomas H. Fluharty, Chapter 11 Trustee for the jointly administered bankruptcy estates

of Dennis Ray Johnson, II, hereby withdraws his Motion for Authority to Compromise and

Dismiss Pending Civil Action Against Peoples Bank, Peoples Insurance Agency, LLC, Great

American Insurance Company of New York, and Zachary B. Burkons [Doc # 1040]. The Trustee

will file an amended motion that incorporates a settlement with Peoples Bank.

                                                       Thomas H. Fluharty, Chapter 11 Trustee
                                                       By Counsel,
/s/ Joe M. Supple
Supple Law Office PLLC
801 Viand Street
Point Pleasant, WV 25550
304.675.6249
joe.supple@supplelaw.net

                                  CERTIFICATE OF SERVICE

        I, Joe M. Supple, certify that a true copy of the foregoing NOTICE OF WITHDAWAL
OF TRUSTEE’S MOTION FOR AUTHORITY TO COMPROMISE AND DISMISS
PENDING CIVIL ACTION AGAINST PEOPLES BANK, PEOPLES INSURANCE AGENCY,
LLC, GREAT AMERICAN INSURANCE COMPNAY OF NEW YORK, AND ZACHARY B.
BURKONS was served by this Court’s CM/ECF system on June 14, 2018 to all parties having
registered in this case under the Court’s CM/ECF system.

/s/ Joe M. Supple

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